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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ASTRAZENECA PHARMACEUTICALS LP,
IPR PHARMACEUTICALS, INC.,
ASTRAZENECA AB, and THE BRIGHAM

AND WOMEN'S HOSPITAL, INC. C.A. No. 10-338 (RBK-KW)

)
)
)
)
)
Plaintiffs, ) PUBLIC VERSION
)
Vv. )

)

APOTEX CORP., )
)

Defendant. }

BRIEF IN SUPPORT OF APOTEX CORP.’S MOTION TO
DISMISS UNDER FED. R. CIV. P. 12(b)(1) AND FED. R. CIV. P. 12(b)(6)

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I. NATURE AND STAGE OF THE PROCEEDINGS

On April 30, 2010, the Plaintiffs filed an amended complaint (“Complaint”) alleging
infringement of U.S. Patent Numbers 6,858,618 and 7,030,152 under 35 U.S.C. 3 271(e)(2).
(D.1. 5}. On July 7, 2010, the Court entered an order extending the time to answer, move, or.
otherwise plead in response to the Complaint to July 23, 2010. (D.L. 8.) Apotex Corp. now
moves to dismiss the Complaint for lack of subject matter jurisdiction, and for failure to state a
claim upon which relief can be granted.

iI. SUMMARY OF THE ARGUMENT

1. This Court should dismiss the Plaintiffs’ patent infringement claims for lack of
subject matter jurisdiction because the Complaint fails to set forth allegations sufficient to
establish subject matter jurisdiction. The Complaint alleges that subject matter jurisdiction is
proper under 28 U.S.C. §§ 1331 and 1338(a). (D.I. 5, 4 14.) To establish subject matter
jurisdiction under either of these sections, however, the Complaint must set forth a claim for
patent infringement. Jt does not. Patent infringement under 35 U.S.C. § 271(€)(2) requires the
submission of an abbreviated new drug application (‘ANDA”) with a certification under 21
U.S.C. § 355(j)(2)(A)(vii)(LV) (“Paragraph IV certification”). The Complaint only alleges that
Apotex Corp. submitted ANDA No. 79-145.' The Complaint does not allege that ANDA No.
79-145 contains a Paragraph IV certification concerning either the ’618 patent or the °152 patent.
Absent allegations concerning Paragraph IV certifications as to the asserted patents, the
Complaint fails to present a justiciable Article III case or controversy. The Complaint further
fails to present a justiciable Article II] case or controversy in that it relies on contingent future

events that have not occurred, thereby rendering the patent infringement claims not ripe.

' Apotex Corp. denies that it submitted ANDA No. 79-145. Apotex Corp. is the authorized agent
for ANDA No. 79-145.

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2. Additionally, there is no factual basis for the exercise of subject matter

jurisdiction over the Plaintiffs’ patent infringement claims under 35 U.S.C. § 271(e)(2). a

3. Should this Court exercise subject matter jurisdiction over this action, then it
should dismiss the Complaint for failure to state a claim upon which relief can be granted. The
Complaint does not allege that Apotex Corp. submitted a Paragraph I'V certification for either the
’618 patent or the 152 patent, which is necessary to state a claim for infringement under 35
U.S.C. § 271(e)(2). Further, the Plaintiffs’ right to relief is speculative at best in view of
allegations that refer to contingent future events that have not occurred. Therefore, even taking
the Complaint’s allegations as true, the Complaint fails to state a claim upon which relief may be
granted.

TI. STATEMENT OF FACTS

The Complaint alleges that Apotex Inc. and/or Apotex Corp. filed ANDA No, 79-145
with the U.S. Food and Drug Administration. (D.I. 5, 411.) The Complaint further alleges that
Apotex Corp. infringed the 618 and °152 patents by submitting ANDA No. 79-145 to the FDA.
(D.L. 5, J 30, 44.) The Complaint also alleges that ANDA No. 79-145 seeks approval to market
rosuvastatin calcium prior to expiration of the 618 and ’152 patents. (D.I. 5, {] 21, 35.) Neither
of the asserted patents claim the chemical compound rosuvastatin calcium. (See D.I. 5-1 and
D.I. 5-3.)

Rather, each asserted patent claims methods of using rosuvastatin calcium. (See id.) The

independent claims of the 618 patent disclose a method for treating heterozygous familial

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hypercholesterolemia in a patient suffering heterozygous familial hypercholesterolemia and a
method for reducing LDL-C, raising HDL-C, reducing Apo B, and raising Apo A-I in a patient
suffering heterozygous familial hypercholesterolemia. (See D.I. 5-1, at col. 9, line 45 — col. 10,
line 44.) The sole independent claim of the ’152 patent discloses a method for treating a
nonhypercholesterolemic human in need thereof to reduce the risk of a cardiovascular disorder.
(See D.I. 5-3, at col. 32, lines 8-27.)

The Complaint does not allege that Apotex Corp. certified that the uses claimed in either
the ’618 patent or the ?152 patent are invalid or not infringed. (See D.I. 5.) The Complaint also
does not allege that Apotex Corp. sent notice letters concerning either the °618 patent or the *152
patent to the Plaintiffs. (See id.) Further, the Complaint does not allege that the label contained
in ANDA No. 79-145 presently has an indication for any use covered by the °618 and °152

patents. (See id.)

IV. ARGUMENT
A. Subject matter jurisdiction is lacking.

This Court lacks subject matter jurisdiction because the Complaint does not set forth .
allegations sufficient to establish an Article IIE case or controversy. Under 35 U.S.C.

§ 271(e)(2), it is an act of infringement to submit an ANDA seeking approval to engage in the
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commercial manufacture, use, or sale of a drug claimed in a patent or the use of which is claimed
in a patent before the expiration of such patent. 35 U.S.C. § 271(e)(2). The U.S. Supreme Court
and the U.S. Court of Appeals for the Federal Circuit have described 35 U.S.C. § 271(e)(2) as an
artificial act of infringement that consists of submitting an ANDA containing a Paragraph IV
certification. See Eli Lilly & Co. v. Medtronic, Inc,, 496 U.S. 661, 678 (1990) (“[35 U.S.C.

§ 271(e)(2) created a] highly artificial act of infringement that consists of submitting an ANDA
or a paper NDA containing the fourth type of certification . . .”) and Novo Nordisk A/S v. Caraco
Pharmaceutical Laboratories, Ltd., 601 F.3d 1359, 1362 (Fed. Cir. 2010) (“[The Hatch-Waxman
Act] makes a Paragraph IV certification into an act of patent infringement.”).” By submitting a
Paragraph IV certification, an ANDA applicant certifies that the patent identified in the
certification is invalid or will not be infringed by the drug or use described in the ANDA.
Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1358 (Fed. Cir. 2003). This certification is
essential to a civil action under 35 U.S.C. § 271(e)(2), see Novo Nordisk A/S, 601 at 1363, (“[The
Hatch-Waxman Act] makes a Paragraph IV certification into an act of patent infringement.”), as
it evinces the applicant’s intention to seek approval for a claimed drug or use prior to patent

expiry.

2 See also Caraco Pharm. Labs., Lid. v. Forest Labs., Ltd., 527 F.3d 1278, 1283 (Fed. Cir. 2008)
(“[T]he .. . act of filing a Paragraph IV ANDA constitutes an act of patent infringement.”)
(emphasis added); Janssen Pharmaceutica, N.V. v. Apotex, Inc., 540 F.3d 1353, 1356 (Fed. Cir,
2008) (citing Eli Lilly & Co. v. Medtronic, Inc., 496 U.S. 661, 678 (1990)) (“[The Hatch-
Waxman] Act provides that the filing of a Paragraph IV Certification is an act of patent
infringement.”) (emphasis added); Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1358
(Fed. Cir. 2003) (“. . . [Section] 271(e)(2)(A) . . create[s] an artificial act of infringement that
consists of submitting an ANDA containing a certification under 21 U.S.C. §

355 (7)(2)(A)(vii) (IV) ....”) (emphasis added); Bristol-Myers Squibb Co. v. Royce Labs., Inc., 69
F.3d 1130, 1131 (Fed. Cir. 1995) (“Inclusion of a paragraph IV certification in an ANDA .. . is
deemed an act of infringement.”) (emphasis added); id. at 1135 (“. . . [T]he Hatch-Waxman Act
gives a drug patent owner the right to bring an action for infringement upon the filing of a
paragraph IV certification.”) (emphasis added).

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1. On its face, the Complaint does not present a justiciable case or
controversy.

A district court may dismiss an action for lack of subject matter jurisdiction for legal
insufficiency where the claims are wholly insubstantial and frivolous. Kehr Packages, Inc. v.
Fideicor, Inc., 926 F.2d 1406, 1408-409 (3d Cir. 1991). In reviewing a facial challenge to
subject matter jurisdiction, “the court must only consider the allegations of the complaint and the
documents referenced therein and attached thereto, in the light most favorable to the plaintiff.”
Gould Elecs. Inc. v. U.S., 220 F.3d 169, 176 (3d Cir. 2000). Here, the Complaint does not allege
that Apotex Corp. submitted an ANDA with a Paragraph IV certification related to either the
°618 patent or the ’152 patent. As a result, the Complaint does not set forth claims sufficient to
establish subject matter jurisdiction.

a) The Plaintiffs’ patent infringement claims are insubstantial

and frivolous absent allegations concerning Paragraph IV
certifications related to the asserted patents.

“A generic manufacturer that files a Paragraph I'V certification must give notice to the
patentee and the NDA holder and provide a detailed basis for its belief that the patent is invalid
or not infringed.” Novo Nordisk A/S, 601 F.3d at 1362 (citing 21 U.S.C. § 355@)(2)(B)G@)). It is
the Paragraph IV certification that gives rise to a claim for patent infringement under 35 U.S.C. §
271(e)(2), and the notice letter that triggers the period during which the patentee may sue for
patent infringement under 35 U.S.C. § 271(e)(2). fd. Without a Paragraph IV certification or
related notice letter, there is no factual or legal basis for the Plaintiffs’ patent infringement
claims.

Here, the Complaint alleges that Apotex Corp. filed ANDA No. 79-145 with the FDA,
(DL 5, 11), and notified the Plaintiffs of the filing of ANDA No. 79-145 by letters dated

November 5 and December 4, 2007. (D.I. 5, 12.) Neither notice letter referenced in the
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Complaint, however, concerned a Paragraph IV certification related to either of the patents
asserted in this case. (Exhibits C and D, hereto.) Rather, the November 5, 2007, letter notified
the Plaintiffs of a Paragraph IV certification regarding U.S. Patent No. 6,316,460, (Exhibit C);
the December 4, 2007, letter notified the Plaintiffs of a Paragraph IV certification regarding U.S.
Patent No. RE37,314. (Exhibit D.)} Neither of these patents is at issue in this case. Moreover,
each notice letter sent to the Plaintiffs indicated that Apotex was not certifying under Paragraph
IV with respect to the °618 patent. (Exhibit C, at 2; Exhibit D, at 2.)

The patents that are at issue here—the ’618 and °152 patents—were not the subject of
notice letters sent to the Plaintiffs. Coincidentally, the Complaint fails to allege that ANDA No.
79-145 contains Paragraph IV certifications as to the ’618 and °152 patents. The Complaint also
fails to allege that Plaintiffs’ received notice letters concerning Paragraph IV certifications for
the 618 and ’152 patents. The absence of allegations concerning Paragraph IV certifications
and accompanying notice letters related to the °618 and °152 patents reveal] the insubstantial and
frivolous nature of the Complaint. In short, the Plaintiffs had no basis to file this Complaint for
patent infringement. The inclusion of allegations concerning notice letters related to the °460
and 314 patents serve only to obfuscate the issues, and further highlights the Complaint’s
frivolity.

Absent allegations that Apotex Corp. made a Paragraph IV certification concerning either
the ’618 patent or the °152 patent, the Complaint cannot set forth a legally sufficient claim with
respect to either patent. Therefore, the Complaint does not present an Article III case or
controversy, and warrants dismissal under Fed. R. Civ. P. 12(b)(1).

b) The Plaintiffs’ patent infringement claims are not ripe.

Despite the Complaint’s attempts to bolster its legally insufficient allegations with

conjecture, the patent infringement allegations contained in the Complaint are not ripe. “A claim
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is not ripe for adjudication if it rests upon contingent future events that may not occur as
anticipated, or indeed may not occur at all.” Texas v. United States, 523 U.S. 296, 300 (1998)
(internal quotation marks omitted). An action must be ripe to present a justiciable Article Ill
controversy. Caraco Pharm. Labs., Ltd. v. Forest Labs., Inc., 527 F.3d 1278, 1291 (Fed. Cir.
2008).

Here, the Complaint alleges, “[o|n information and belief, the FDA will require the label
for the Apotex Rosuvastatin Calcium Tablets to include information relating to the use to treat
pediatric patients 10 to 17 years of age having HeFH.” (D.I. 5, § 25; see also {| 39, which is a
similar allegation with respect to the 152 patent.) This is mere speculation. The Complaint
does not allege that the label contained in ANDA No. 79-145 includes an indication for a use
claimed in either the ’618 patent or the *152 patent. The Complaint does not allege that the FDA
has required an amendment to the Jabel contained in ANDA No. 79-145. The Complaint does
not allege that the label contained in ANDA No. 79-145 has been amended.

Nonetheless, the Complaint presumes a label amendment has occurred as it alleges “[o}n
information and belief, in view of the label amendment, Apotex Inc. and/or Apotex Corp. will
need to satisfy, inter alia, 21 U.S.C. § 355(j)(2)(A), and the regulations promulgated thereunder,
to obtain FDA approval for ANDA No. 79-145.” (D.L 5, | 26, (emphasis added) see also { 40,
which is a similar allegation with respect to the 152 patent.) The antecedent bases for the “in
view of the label amendment” allegations, which include allegations that the “IDA will require”
label amendments, do not exist.

Contrary to the Plaintiffs allegations, (D.I. 5, [J 24 and 38), there is no requirement to
amend the label contained in ANDA No. 79-145 to include the uses claimed in the asserted

patents. See Warner-Lambert Co., 316 F.3d at 1362 (“Congress contemplated the possibility that
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there could be more than one approved indication for a given drug, and that an ANDA applicant
can seek approval to label and market the drug for fewer than all of those indications.”); see also
Bristol-Myers Squibb Co. v. Shalala, 91 F.3d 1493, 1500 (D.C. Cir. 1996) (“the statute [21
U.S.C. § 355(9)] expresses the legislature’s concern that the new generic be safe and effective for
each indication that will appear on its label, whether the label for the new generic lists every
indication approved for use of the pioneer [drug] is a matter of indifference.”), Consequently,
the Complaint’s allegations conceming label amendments have no basis in law.

The Complaint also alleges: “on information and belief, (1) if the FDA approves ANDA
No. 79-145, the sale of the Apotex Rosuvastatin Calcium Tablets with their associated labeling
before the expiration of the ‘618 patent will cause infringement of one or more claims of the
‘618 patent,” (D.I. 5, J 28; see also J 42, which is a similar allegation with respect to the °152
patent); (2) “the Apotex Rosuvastatin Calcium Tablets, if approved by the FDA, will be
prescribed and administered to human patients to treat HeFH, which uses will constitute direct
infringement of the ’618 patent,” (D.I. 5, § 29; see also { 43, which is a similar allegation with
respect to the ’152 patent); and (3) “Apotex Corp. will actively induce, encourage, aid and abet
this prescription and administration, with knowledge and specific intent that these uses will be in
contravention of the ‘618 Patent Plaintiffs’ rights under the 618 patent.” (D.I. 5, § 29; see also
43.) None of the events described in paragraphs 28, 29, 42, and 43 of the complaint have
occurred. Further, none of the events described in paragraphs 28, 29, 42, and 43 of the complaint
are relevant to a 35 U.S.C. § 271(e)(2)(A) claim, which considers only whether an ANDA
applicant has submitted an ANDA with a Paragraph IV certification. These irrelevant and
unfounded allegations serve only to confuse matters, and further reflect the insubstantial and

frivolous nature of the Complaint.
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Even with these altegations, the Complaint remains legally insufficient with respect to
patent infringement claims concerning the ’618 and °152 patents. The allegations concerning
Paragraph IV certifications related to patents other than those asserted in this action are
immaterial. Under 35 U.S.C. § 271(e)(2)(A), a Paragraph IV certification gives rise to a patent
infringement action with respect to the patent that is the subject of the certification. See, ¢.g.,
Novo Nordisk, Inc. v. Mylan Pharmaceuticals Inc., C.A. No. 09-2445 (FLW) 2010 WL 1372437,
at *10 (D.N.J.) (“where no Paragraph IV certification has been filed in connection with the only
claim at issue with regard to the [asserted patent], the Court fails to see how the filing of a
Paragraph IV Certifications in connection with [the claims not asserted] are even relevant.”).
This failure to allege that Apotex Corp. submitted Paragraph IV certifications for the uses
claimed in the °618 and *152 patents precludes patent infringement claims under 35 U.S.C. $
271(e)(2)(A). Moreover, the Complaint’s reliance on events that have not occurred, many of
which are not relevant to a patent infringement claim under 35 U.S.C. § 271(e)(2)(A), shows that
the Plaintiffs’ claims are not ripe. Accordingly, the Complaint does not present a justiciable

Article III case or controversy over which this Court may exercise subject matter jurisdiction.

This Court should dismiss the Complaint for lack of subject matter jurisdiction because
the facts do not satisfy jurisdictional prerequisites. See United States v. Pa. Shipbuilding Co.,
473 F.3d 506, 514, 531 (3d Cir. 2007) (dismissing the plaintiff's claim because it failed to
comport with subject matter jurisdiction prerequisites). The Plaintiffs have the burden of
proving that subject matter jurisdiction exists. See Hedges v. United States, 404 F.3d 744, 750
(3d Cir. 2005). Further, the Plaintiffs’ allegations are not entitled to a presumption of

truthfulness. See Mortensen, 549 F.2d at 891 (suggesting that plaintiffs enjoy no presumption of
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truthfulness as to their allegations on a Rule 1 2(b)(1)} motion to dismiss for lack of subject matter
jurisdiction). When considering a factual attack on subject matter jurisdiction, courts may weigh
evidence beyond the pleadings. Petruska v. Gannon Univ., 462 F.3d 294, 302 n.3 (3d Cir. 2006)

(citing Mortensen v. First Fed. Sav. & Loan Ass'n, 549 F.2d 884, 891 (3d Cir. 1977)).

discussed supra, the Complaint does not allege that ANDA No. 79-145 contains a Paragraph IV
certification for cither the °618 patent or the ’152 patent. Furthermore, the Plaintiffs have not

alleged that ANDA No. 79-145 should have contained a Paragraph IV certification for either

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Complaint’s allegations concerning future label amendments (D.L 5, 49 25, 26, 39, 40), and

demonstrates that there is no factual basis supporting these allegations. There is also no legal

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basis for these allegations, as there is no requirement to amend the label contained in ANDA No.
79-145 to include the uses claimed in the asserted patents. See Warner-Lambert Co., 316 F.3d at
1362.

a
a and the absence of Paragraph IV
certifications concerning the asserted patents, the Complaint cannot raise a claim for patent
infringement under 35 U.S.C. § 271(e)(2). Absent a valid claim for patent infringement, there is
no basis for subject matter jurisdiction under either 28 U.S.C. §§ 1331 and 1338(a). Therefore,
this Court should dismiss the Complaint for lack of subject matter jurisdiction.

B. The Complaint fails to state a claim upon which relief may be granted.

Should this Court exercise subject matter jurisdiction over the Plaintiffs’ patent
infringement claims, then this Court should dismiss the Plaintiffs’ claims for failure to state a
claim upon which relief can be granted. “To withstand a Rule 12(b)(6) motion, a complaint must
contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its
face.” Max v. Republican Comm. of Lancaster County, 587 F.3d 198, 200 (3d Cir. 2009)
(internal quotations omitted). This requires more than “a formulaic recitation of a cause of
action’s elements,” and requires factual allegations that “raise a right to relief above the
speculative level.” See Bell Atl. Corp. v. Twombly, 550 U.S, 544, 555 (2007) (citations omitted).

Here, a claim for relief under 35 U.S.C. § 271(e)(2) requires a Paragraph IV certification
with respect to the asserted patents. Setting aside {{] 30 and 44, which are formulaic recitations
of the elements of a claim under § 271(e)(2), the Complaint lacks factual allegations sufficient to
show that the Plaintiffs are entitled to relief. Specifically, as discussed supra with respect to
Apotex Corp.’s facial challenge to subject matter jurisdiction, the Complaint does not allege that

Apotex Corp. submitted a Paragraph IV certification related to either the 618 patent or the °152

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patent. Similarly, the Complaint does not allege that Apotex Corp. should have submitted a
Paragraph IV certification with respect to either of the asserted patents. Further, many of the
allegations in the Complaint refer to events that have not occurred. (See D.I. 5, 9] 25, 26, 28, 29,
39, 40, 42, 43.) As a result, the Complaint does not contain sufficient factual matter to state a
claim to relief under 35 U.S.C. § 271(e)(2). Therefore, this Court should dismiss the Complaint.

V. CONCLUSION

For the reasons stated herein, this Court should dismiss the Complaint for lack of subject
matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1). Should this Court exercise subject
matter jurisdiction in this case, then this Court should dismiss the Complaint for failure to state a

claim upon which relief can be granted pursuant to Fed. R. Civ. P. 12(b)(6).

Respectfully submitted,

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CERTIFICATE OF SERVICE

I, David E. Moore, hereby certify that on July 30, 2010, the attached document was
electronically filed with the Clerk of the Court using CM/ECF which will send notification to the .
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I hereby certify that on July 30, 2010, the attached document was electronically mailed to

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